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                IN THE UNITED STATES DISTRICT COURT FOR THE

                           DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                   8:92CR14
                              )
          v.                  )
                              )
CHRISTOPHER ALLEN SCOTT,      )                        ORDER
                              )
               Defendant.     )
______________________________)


            This matter is before the Court on defendant’s motion

for modification of sentence pursuant to 18 U.S.C. § 3582(c)(2)

(Filing No. 1216).      The Court has reviewed defendant’s current

motion, as well as his previous requests for modification of

sentence (Filing Nos. 1078 and 1191).          Defendant was convicted of

violation of 21 U.S.C. § 848(b), a continuing criminal

enterprise, and the modifications of the sentencing guidelines

are not applicable to defendant.         The United States Court of

Appeals for the Eighth Circuit has affirmed the previous

decisions of this Court to this effect (Filing No. 1215).                  His

motion should be denied.      Accordingly,

            IT IS ORDERED that defendant’s motion for modification

of sentence is denied.

            DATED this 27th day of September, 2012.

                                     BY THE COURT:

                                     /s/ Lyle E. Strom
                                     ____________________________
                                     LYLE E. STROM, Senior Judge
                                     United States District Court
